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                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE EASTERN DISTRICT OF VIRGINIA

                                    Alexandria Division

Crystal V. Davila,

       Plaintiff

v.
                                                    Civil Action No. 1:11cv721(LMB/JFA)
Global Credit Systems, LLC

       Defendant


                                    NOTICE OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(A)(1)(a)(i), Crystal V. Davila, the

plaintiff herein, requests that this matter be dismissed with prejudice as to all parties.

                                               Respectfully submitted,

                                               Crystal V. Davila


                                               By: /s/ Nathan D. Baney___________
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                                   Certificate of Service

       I HEREBY CERTIFY that on this 19th day of August, 2011, a copy of the foregoing
Notice of Dismissal was served by electronic mail to the parties below:

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                                          /s/ Nathan D. Baney_____________
